Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 1 of 15 PageID #: 77




                EXHIBIT B
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 2 of 15 PageID #: 78

                                                                                                                 US010197258B2

(12) United States Patent                                                                   (10) Patent No.: US 10 ,197,258 B2
        Gammons et al.                                                                      (45) Date of Patent:     Feb . 5 , 2019
(54) LIGHTING SYSTEM AND CONTROL                                                     (58 ) Field of Classification Search
         THEREOF                                                                           CPC .. HO5B 37 / 02 ; H05B 37 /0272 ; H05B 37 / 029 ;
                                                                                                            H05B 37 /0281; H05B 33 / 08 ; HO5B
( 71 ) Applicant: Rotolight Limited , London (GB )                                                         33 /0842 ; F21 V 23 / 00 ; F21V 23 / 003
                                                                                              See application file for complete search history.
( 72 ) Inventors : Roderick Allen Gammons, Staines
                    Upon Thames (GB ); Andrew Francis,                               (56 )                        References Cited
                    Witham GB( ); Roderick Aaron
                    Gammons, Winkfield (GB ); Stefan                                                      U .S . PATENT DOCUMENTS
                    Lange , Shepperton (GB )                                                 5 , 307,295 A          4 / 1994 Taylor et al.
                                                                                             5 , 921 ,659 A        7 / 1999 Hunt et al.
(73 ) Assignee: Rotolight Limited, London (GB )                                                                        (Continued )
( * ) Notice :       Subject to any disclaimer, the term of this                                    FOREIGN PATENT DOCUMENTS
                    patent is extended or adjusted under 35
                    U .S .C . 154 (b ) by 0 days.                                   CN                  202841602            3    /2013
                                                                                    CN                  103090238                5 / 2013
( 21) Appl. No.: 15 /849,819                                                                                           (Continued )
(22) Filed :        Dec. 21, 2017                                                                             OTHER PUBLICATIONS
(65 )                     Prior Publication Data                                    European Search Report and the European Search Opinion dated
        US 2018 /0135842 A1 May 17, 2018                                            Aug . 1, 2017 From the European Patent Office Re. Application No.
                                                                                    17165609 .3 . (7 Pages ).
               Related U .S . Application Data                                                                         (Continued )
(63) Continuation of application No . 15/481,460, filed on                           Primary Examiner — Thai Pham
        Apr. 7 , 2017 .
                        ( Continued )                                                (57 )               ABSTRACT
                                                                                     The invention relates to a lighting system , the system
(30 )           Foreign Application Priority Data                                    comprising: a lighting device; and a controller for control
                                                                                     ling the lighting device to produce user customisable real
   Apr. 20 , 2016 (GB )                 ........... 1606907. 2                       istic lighting effects, the controller comprising: a calculating
(51) Int. Ci.                                                                       device adapted to calculate a time varying lighting value
     F21V 23/00                        ( 2015 .01)                                  based on at least one simulation parameter; and adapted to
     H05B 37 /02                   ( 2006 .01)                                      output said time varying lighting value to said lighting
                                                                                    device so as to simulate a user customizable realistic lighting
(52 ) U .S. CI.                                                                     effect; wherein said lighting device and said controller are
        CPC ........ F21V 23 /003 ( 2013.01 ); H05B 37 /029                          integrated in a combined unit.
                  (2013 .01) ; H05B 37/0254 ( 2013.01); H05B
                                           37/0272 (2013 .01)                                             22 Claims, 5 Drawing Sheets



                                           104 106    300                    302                  304             102 - 1




                            8612
                             th
                                  de
                                                      Analogue
                                                         effect
                                                       simulator
                                                     ('Flickerbox')


                                                                          306
                                                                                DMX
                                                                      besten distribution
                                                                                 hub




                                                                                       AC power
                                                                                                  Power
                                                                                                distribution -
                                                                                                     AC
                                                                                                                  102 - 2




                                                                                      generator
                                                                                                                  102 - 3




                                                                                                                   102 - 4
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 3 of 15 PageID #: 79


                                                              US 10 ,Page
                                                                      197 ,2258 B2

                  Related U .S . Application Data                             EP                  3002995            4 /2016
                                                                              GB                  2209229            5 / 1989
(60 ) Provisional application No. 62/ 319,809, filed on Apr.                  GB                  2424525            9 / 2006
          8 , 2016 .                                                          GB                  2482562            2 /2012
                                                                              JP                H0448588             2 / 1992
(56 )                        References Cited                                 WO         WO 01/ 05195                 1 /2001
                                                                              WO       WO 2005 /052751               6 / 2005
                    U . S . PATENT DOCUMENTS                                  WO       WO 2017 /097741               6 / 2017

        5 , 924 ,784 A       7 / 1999 Chliwnyj et al.                                             OTHER PUBLICATIONS
        7 ,038,399 B2        5 / 2006 Lys et al.
        7 , 353 ,071 B2 *    4 / 2008 Blackwell ... ......... HO5B 37 /029    Patents Act 1977 : Combined Search and Examination Report Under
                                                                   700 / 11   Sections 17 and 18 ( 3) dated Jun . 13, 2016 From the Intellectual
        7,777,427 B2         8 /2010 Stalker, III                             Property Office of the United Kingdom Re. Application No.GB1606907 .
        8 ,253 ,666 B2       8 /2012 Shteynberg et al.
 2004 /0257007 Al           12 / 2004 Lys et al.                              2 . ( 7 Pages).
 2007/0159347 A1 *           7 / 2007 Weitzel                 GO8B 5 /36      Patents Act 1977 : Examination Report under Section 18 ( 3 ) dated
                                                               340 /691.2     Aug . 30 , 2017 From the Intellectual Property Office of the United
 2008/0129226 A1 * 6 / 2008 DeWitt ................ H05B 37 / 029             Kingdom Re. Application No. GB1606907 .2 ( 3 Pages).
                                                                 315 / 307    Official Action dated Mar. 9 , 2018 From the US Patent and
 2014 /0139130 A1            5 / 2014 Upton                                   Trademark Office Re. U . S . Appl. No . 15 / 481,460 . (9 pages ).
 2017 /0343197 Al           11/ 2017 Gammons et al.                           Official Action dated Apr. 10 , 2018 From the US Patent and
 2018 / 0094798 A1           4 / 2018 Gammons et al.
 2018 /0112862 A1            4 / 2018 Gammons et al.                          Trademark Office Re. U . S . Appl. No . 15 /820 ,469. ( 19 pages ).
                                                                              Official Action dated Mar. 22, 2018 From the US Patent and
               FOREIGN PATENT DOCUMENTS                                       Trademark Office Re. U .S . Appl. No. 15 /849,793 . (14 pages).
                                                                              Philips “ Controlling LED Lighting : Transform Environments , Pro
CN                 103313457             9 /2013                              vide Confort and Security, Save Energy ” , Philips Color Kinetics,
CN                 103313458            9 / 2013                              Product Catalog , p . 1 -36 , 2011 .
EP                   2120512           11 / 2009
EP                   2383608           11/2011                                * cited by examiner
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 4 of 15 PageID #: 80


         atent          Feb . 5 , 2019             Sheet 1 of 5                    US 10 , 197,258 B2




                                                   302
                                                                                               lll
            104   106          300                                   304            102 - 1
                   TW
                               Analogue
     *
     *
     *
                                effect
                           ("Flickerbox ')      hub
                                                   DMX
                             simulator sont distribution
                                                                     Power
                                                         Blog distribution

                                                                                     102 - 2
                                                                                               llll
                                                 306

                                           pes
                                                         AC power
                                                         generator                             /
                                                                                               lll
                                                                                    102 - 3




                                                                                     102 - 4




                         120




                                                                106          107



          8-                         ef ect simulator
                                     Effect simulator
                                                                           1 0
                                                                             102



                                          Figure 2
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 5 of 15 PageID #: 81


       atent                      Feb . 5 , 2019           Sheet 2 of 5           US 10 ,197,258 B2


                                               Receive
                   $ 1. mwemmen               simulation
                                              parameters


                    S2 --               Simulate variation
                                         of light over time


                   $3                    Send to light array


                                              Figure 3


                         130


             105                        100                         106   107



                                       Effect simulator
                    ww




                                                                    108     Lee


                                                                                102 - 1

                                              Figure 4
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 6 of 15 PageID #: 82


              atent     Feb . 5 , 2019           Sheet 3 of 5         US 10 ,197,258 B2




                  200               202                         204




     -Brightnes
                                                           em eren
                                                            ramen
                                                             de

        3




                                           warmwen Timem

                                          Figure 5
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 7 of 15 PageID #: 83


         atent            Feb . 5 , 2019        Sheet 4 of 5                               US 10 ,197,258 B2



                                       Light control system
                                                Fire effect
          manataman
                               Parameter                                         Setting
   800                    More info
                      R   Fire activity                                 Low '          .           High
                                                         LXXXLX .XX .   XYZEXLEKETEZ



                           More info
                          Fire colour                                                      2000K
                          More info
                          Peak brightness                                                   80 %
                          More info
                          Baseline brightness                                               40 %
                      X    More info
                          Camera frequency                                                 60Hz
                                  ??????




                      X Colour
                            20 9 Swing Blue
                                       9   .

                                            Monochrome
                                                   200




                                               Figure 6
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 8 of 15 PageID #: 84


       atent                     Feb . 5 , 2019                    Sheet 5 of 5                               US 10 ,197,258 B2




        WWWWWWWWWWW    WWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWW




                                             WW A




                                                                                               ZURENanAL
                                                                                                              8
                                                                                                              6
                                                                                                              4
                                                                                                              .
                                                                                                              2




               WX                                                            WAKCIULOX
               X




               wwwww
               *
               A




               *
                                             ANCHOWU
                                             AR                              CWAHLUXKMSOI
                                                                                                              2




                                                                                                              8
                                                                                                              6
                                                                                                              4
                                                                                                              2
                                                                                                              .
                                                                                                              1


                                                                                                                  Seconds   Figure
                                                                                                                            7
               *




                                                                                                              1

               *




               *




               *
                                             WX                              MACHOWILUX                       8
                                                                                                              6
                                                                                                              4
                                                                                                              2
                                                                                                              .
                                                                                                              0




               *




               *
               W
                                                                             KUACW                            0




                                                       % ness         Yooo   RU Bo t
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 9 of 15 PageID #: 85


                                                    US 10 , 197 ,258 B2
         LIGHTING SYSTEM AND CONTROL                                  Optionally , the colour or colour temperature varies in
                         THEREOF                                    dependence on a brightness lighting value .
                                                                       Optionally , the simulation parameter is related to one or
                   RELATED APPLICATIONS                             more of: a rate of increase of brightness ; a rate of decrease
                                                                 5 of brightness ; a rate of change of colour; a brightness; a local
   This application is a Continuation of U . S . patent appli-      maximal brightness ; a localminimalbrightness ; a brightness
cation Ser. No . 15 /481,460 filed on Apr. 7 , 2017 , which        fluctuation period ; and a colour fluctuation period.
claims the benefit of priority of U .S . Provisional Patent          Optionally, the method may further comprise receiving a
Application No. 62/319 , 809 filed on Apr. 8 , 2016 and United
Kingdom Patent Application No . 1606907 . 2 filed on Apr. 20 , 10 eters input
                                                                  user
                                                                        and
                                                                              of one or more user -selectable simulation param
                                                                             adapting   the simulation in dependence on the one
2016 . The contents of the above applications are all incor       or more   user - selectable simulation parameters .
porated herein by reference in their entirety .                      Optionally , the simulation parameter comprises at least
          FIELD AND BACKGROUND OF THE                              one of: a maximum brightness ; a minimum brightness ; a
                        INVENTION                               is colour ; a fluctuation period ; and a trigger.
                                                                     Optionally, the simulation parameter comprises a camera
   This invention relates to a lighting system , and the control recording frequency .
of a lighting system , and the simulation of lighting special          Optionally, the time varying lighting value is calculated so
effects, and in particular to a lighting system for videogra -      as to vary at a slower rate than said camera recording
phy, broadcasting and cinematography .                           20 frequency .
    In the film , broadcast and TV industry a lighting control         Optionally, the simulation iterates through repeated cycles
ler called a “ flicker box ' which is independent of a lighting of receiving at least one random simulation parameter and
device , is used to produce flickering light effects to mimic simulating the lighting effect.
flickering light for example from a fire place , candle, elec -        Optionally, the lighting effect is designed to mimic at least
 trical spark or lightning for on set television / broadcast 25 one or more of: fire flickering; police light; television ;
production use .                                                    lightning flashing; electrical sparking; and fireworks.
     The Hicker effect provided by these devices is typically          Optionally, the lighting value comprises brightness and /or
created using the analogue circuitry modulators contained colour data .
within the ' flicker box ', controlled manually by dials and           Optionally , the method may further comprise converting
levers. Use of a flicker box is typically a complex , costly and 30 bric
                                                                    brightness  and /or colour data into lighting signals and out
time consuming process that requires the setup , connection         putting the lighting signal data .
and control of multiple pieces of hardware typically includ
 ing external Digital Multiplex (DMX ) and power distribu one or more ,light
                                                                       Optionally   the method may further comprise controlling
                                                                                         in dependence on the output.
tion devices, as well as typically requiring a physical wired 35 Optionally, the controlling       comprises changing the bright
connection to the ‘hot light source desired to be controlled . 35        prionany
   Typically such « flicker boxes' require specialist knowl-        ness and /or colour of the light.
edge and understanding to operate and remain inaccessible             Optionally, the method may further comprise receiving a
or 'out of reach ' to lower budget television productions .         definition of a trigger event, said trigger event initiating said
   Furthermore , many ' flicker boxes ' are incompatible with    output of the time varying lighting value thereby to simulate
LED light sources, and such systems require the use of 'hot ' 40 a lighting effect.
incandescent light sources which are energy inefficient and         Optionally, the method may further comprise detecting an
also pose health and safety risks to those working on set        occurrence of the trigger event and outputting said time
typically therefore requiring qualified lighting gaffers and varying lighting value thereby to simulate a lighting effect.
operators .                                                         Optionally, the method may further comprise storing the
   An improved solution is desired .                         45 calculated lighting value.
   According to one aspect of the invention , there is pro -       A method according to any of the preceding claims,
vided a method for controlling a lighting device to produce wherein the controlling is for a lighting system for videog
user customisable lighting effect, the method comprising : raphy, broadcast, cinematography, studio filming and/ or
calculating a time varying lighting value based on at least
one simulation parameter ; and outputting said time varying 50 Optionally , the method may further comprise controlling
lighting value thereby to simulate a lighting effect.
   Optionally, the method may further comprise receiving a plurality     of lights in dependence on the output.
                                                                 Optionally , the said plurality of lights output different
said at least one simulation parameter for characterising a   lighting values so as to simulate a lighting effect .
lighting effect.
                                                              . Optionally
  Optionally, said at least one simulation parameter for 55 time  .
                                                                            , the outputof said plurality of lights is offset in
characterising a lighting effect is random .
  Optionally, said at least one simulation parameter for        Optionally , the output of said plurality of lights overlap
characterising a lighting effect is random within predefined with   one -another so as to simulate a moving light source .
boundaries.                                                     Optionally, one light is a master light and the others of
  Optionally, the random simulation parameter is deter - 60 said plurality of lights are slaves .
mined in dependence on one or more user- selectable simu       According to another aspect there is provided a controller
lation parameters .                                                 for controlling a lighting device to produce a lighting effect,
   Optionally, the random simulation parameter is in a range        the controller comprising : a calculating device adapted to
determined in dependence on one or more user - selectable    calculate a time varying lighting value based on at least one
simulation parameters .                                   65 simulation parameter ; and an output adapted to control a
   Optionally, the simulation parameter is a colour or colour       lighting device according to the determined variation of
temperature .                                                       lighting over time.
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 10 of 15 PageID #: 86


                                                     US 10 , 197,258 B2
   Optionally, the controller may further comprise a random            Preferably , the parameters of the effects can be controlled
number source adapted to provide a random number for                 remotely via WiFi, Bluetooth , Zigbee or wireless DMX from
producing a random simulation parameter for characterising           a smart phone or tablet.
a lighting effect.                                                     Preferably , the parameters of the effects can be controlled
   Optionally , the controller is adapted to control a plurality 5 Via a serial communications interface (eg . RS232 , USB or
of lighting devices in dependence on the time varying DMX                ) from a PC running custom lighting control software.
                                                                      Preferably, the light source containing in built special
lighting value .
   Optionally , the controller comprises a wireless commu tively   effects is in the form of an LED lighting fixture . Alterna
nication interface adapted for wireless communication with 10 Preferably  it is in the form of or 'hot' light incandescent fixture .
                                                                                  , multiple lights may be connected together via
one or more lighting devices .                                     wired  DMX     , or via WiFi, Bluetooth , Zigbee or wireless
   Optionally , the controller comprises an input interface DMX to produce               a synchronised large area special effect.
adapted to receive a user input.                                      Preferably , when multiple lights are connected together to
  Optionally, the input interface comprises at least one of:         produce a synchronized large area special effect, the inter
a wireless communication interface ; a dial; a Slider
                                                slider;; aa 15 relationship of those connected lights is customizable so as
display and buttons ; and a touch screen .                     to allow all of the connected devices to fire at the same time
  Optionally, the controller may further comprise a con if desired , or, to enable a staggered effect to take place over
verter adapted to convert brightness and/or colour data from  an extended time duration and with customizable power
the simulator into lighting signals for output by the output. intensity , in order to create the effect that a static object is
   Optionally , the controller may be adapted to perform a 20 moving as the lights “ chase ” around a scene.
method as described herein .                                     Preferably , the system includes rolling shutter compensa
  According to another aspect there is provided a lighting           tion enabling the minimum light pulse width to be adjusted
system comprising a controller as described herein and at            to suit the shutter speed or frame rate of the user ' s camera
least one lighting device .                                   in order to prevent ' strobing ' due to the light effect being out
  Optionally, said controller and said lighting device are 25 of phase / sync with the frame rate of the camera , ensuring
integrated in a combined unit.                                      that each frame captured by the camera is fully illuminated .
  Optionally, the lighting system may further comprise a               Preferably , a light source can be designated as a “master ” ,
further lighting device separate from said controller .             and have connected ‘slave' light sources which fire in
  Optionally , the lighting device is a lighting device for    synchronization with the 'master' , or in a customizable
videography, broadcast , cinematography, studio filming and 30 sequence , with regard duration , power and / or colour tem
or location filming .                                                perature .
  According to another aspect there is provided a lighting        Preferably, the ‘slave ' light sources are connected to the
device comprising a controller as described herein .           ‘master ' light source via wired DMX , wireless DMX , wifi ,
   Optionally , the lighting device is a lighting device for   Bluetooth , or RS232 sync cable .
videography, broadcast, cinematography, studio filming and / 35 Preferably , the light contained in built special effects , can
or location filming .                                          be powered both from mains power, and / or via its own
   According to another aspect there is provided a computer          internal battery power source , providing greater flexibility
program product for controlling a lighting device to produce         and portability for location shooting .
a lighting effect, the computer program product adapted to             Preferably , the light source is capable of producing cus
perform , when executed , the steps of: calculating a time 40 tomisable effects including , but not limited to : Fire , Light
varying lighting value based on at least one simulation       ning, Police light, TV simulation , Neon Flickering sign ,
parameter; and outputting said time varying lighting value          M uzzle ( gunshot), Welding , Spark / Short Circuit, Scan (e .g .
thereby to simulate a lighting effect.                               fingerprint scanner ), Papparrazi flashes, Propeller, (Nuclear )
   Optionally , the computer program product may be                  Explosion and Wormhole .
adapted to perform , when executed , the steps of a method as 45 The invention extends to any novel aspects or features
described herein .                                              described and/or illustrated herein .
  According to another aspect of the invention there is            Further features of the invention are characterised by the
provided a controller for controlling a lighting device to      other independent and dependent claims.
produce a lighting effect , the controller comprising : a cal-     Any feature in one aspect of the invention may be applied
culating device adapted to calculate a time varying lighting 50 to other aspects of the invention , in any appropriate com
value based on at least one simulation parameter ; and an            bination . In particular, method aspects may be applied to
output adapted to control a lighting device according to the         apparatus aspects, and vice versa .
determined variation of lighting over time.                       Furthermore , features implemented in hardware may be
   In a further aspect of the present invention there is implemented in software , and vice versa . Any reference to
provided a light with the built-in capability to generate a 55 software and hardware features herein should be construed
range of customizable cinematic special lighting effects , by accordingly .
modulating the speed , duration , power/brightness, and /or       Any apparatus feature as described herein may also be
colour temperature of the light output.                        provided as a method feature , and vice versa . As used herein ,
   Preferably, the parameters of the effects including but not means plus function features may be expressed alternatively
limited to speed , duration , power/brightness and colour 60 in terms of their corresponding structure , such as a suitably
temperature can be controlled locally via a simple user             programmed processor and associated memory .
interface on the light itself.                                        It should also be appreciated that particular combinations
  Preferably, the start/stop “ triggering " of the effects can be   of the various features described and defined in any aspects
controlled locally via a simple user interface on the light          of the invention can be implemented and / or supplied and /or
itself, remotely via WiFi, Bluetooth , Zigbee or wireless 65 used independently .
DMX from a smart phone or tablet, or from a wired 3 . 5 mm      The invention also provides a computer program and a
minijack remote trigger, or a wired DMX trigger.                     computer program product comprising software code
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 11 of 15 PageID #: 87


                                                    US 10 , 197, 258 B2
adapted , when executed on a data processing apparatus, to              detail below . A microcontroller or other computing unit is
perform any of the methods described herein , including any             integrated in the lamp device 120 for performing calcula
or all of their component steps .                           tions.
   The invention also provides a computer program and a       An input interface 105 including a control panel is pro
computer program product comprising software code which , 5 vided at a back panel of the lamp device 120 . The control
when executed on a data processing apparatus, comprises panel can include for example buttons, rotary knobs, sliders,
any of the apparatus features described herein .            and /or a display/ input panel for user input of parameters for
   The invention also provides a computer program and a simulating an effect. In a variant a simple digital interface is
computer program product having an operating system          provided on the light itself for user input of simulation
which supports a computer program for carrying out any of 10 parameters to control the lighting effect. In another variant
the methods described herein and / or for embodying any of              the lamp device 120 is adapted for communication with a
the apparatus features described herein .                               wireless user device and receives user- selectable simulation
   The invention also provides a computer readable medium               parameters to control the lighting effect from the user
having stored thereon the computer program as aforesaid .     device . The user device may for example be a tablet or smart
   The invention also provides a signal carrying the com - 15 phone   with suitable hardware / software (e.g. an app ) for
puter program as aforesaid , and a method of transmitting               receiving user input of simulation parameters and transmit
such a signal.                                                          ting that data to the light 102 . The system ofFIG . 2 is simpler
   The invention extends to methods and/ or apparatus sub               to set up and less expensive than that of FIG . 1 as there are
stantially as herein described with reference to the accom 20 fewer pieces of hardware .
panying drawings.
                                                                  Furthermore the energy inefficiency of ‘hot light' systems
        BRIEF DESCRIPTION OF THE SEVERAL                      (i.e . a 1K hot light consumes 1000 watt /hour, vs 38 watt per
              VIEWS OF THE DRAWINGS                           hour of current generation LED system ), Systems such as
                                                              that described in FIG . 1 using a flicker box and typically 'hot
   The invention will now be described by way of example , 25 lights ' also suffer from the significant disadvantage that a hot
with references to the accompanying drawings in which :       light is a fixed colour of light, either daylight 5600K or most
   FIG . 1 is a schematic diagram of a ‘ flickerbox ’ lighting          commonly tungsten 3200K . When recreating an effect such
system ;                                                                a lightning this effect would appear at the blue end of the
  FIG . 2 is a schematic diagram of a further lighting system ; colour spectrum i.e . 7000K + so utilising a 3200K light for
  FIG . 3 is a flow diagram of a method for adjusting a 30 this would require an operator to climb up a ladder to apply
lighting device ;                                                       one or more CTB (Colour temperature blue ) filter( s ) to the
   FIG . 4 is a schematic diagram of a further lighting system ;        light in order to achieve the desired colour temperature.
   FIG . 5 shows a time/brightness plot for a system of linked            Having the ability to control the special FX from the light
lights ;                                                    source , which in itself is a bi-colour LED Fixture also
   FIG . 6 is a graphic user interface for user input of 35 entirely eliminates that aspect of the process, the user can
simulation parameters , and                                 simply adjust the colour temperature from the back of the
   FIG . 7 is a graph of light brightness over time.                    unit, with a visible numeric display of that number elimi
                                                                        nating significant time from the process .
     DESCRIPTION OF SPECIFIC EMBODIMENTS                                   This is also a significant limiting factor in the creation of
                   OF THE INVENTION                                40 effects such as fire which typically burn blue on hotter peaks.
                                                                        It would be possible using an LED light source containing
   In the present description the term " camera ' may be                in built special effects to reproduce both the warm " orange "
understood to mean a camera ( such as a digital camera , or             light output near the tungsten end of the scale , whilst also
‘ film ' camera ) operable to record moving images. The                 adding a " colour swing blue” on the peaks from the same
lighting system may therefore be for a lighting system for 45 light source , something that would not be possible using a
videography, broadcasting, cinematography, studio filming               legacy system .
and/ or location filming.                                      Examples of user defined parameters that the light con
   FIG . 1 shows a schematic diagram of a ‘ flickerbox taining in built special effects can customize in simulating a
lighting control system . The system comprises an analogue   lighting effect are now described in more detail:
effect simulator, 300 , a DMX distribution hub 302 , an AC 50 Brightness : The peak luminance of the effect from 1 % to
power generator 306 , an AC power distribution module 302                    100 % of the lamp's available luminance output.
and a plurality of incandescent lights 102 . The analogue                 Colour : For multicolour effects this sets the range of
effect simulator 300 simulates a lighting effect such as fire ,              colours used over the spectrum of red , green and blue .
or electrical sparking based on various parameters 104 . The                 For single colour effects it sets the colour temperature
analogue effect simulator 300 produces data 106 such as 55                   of the light.
brightness parameters that vary over time for producing the               Trigger: To start the effect running . For example , a manual
desired lighting effect. The data 106 is used to modulate the               triggermay be selected for manually triggering the start
light 102 such that the desired lighting effect is produced .               of a lightning burst, TV screen , or other effect.
The user has very limited ability to alter many of the                    Frequency: typically from 0 .5 Hz to 50 Hz. This sets an
parameters to adapt the lighting effect as desired .               60        average period between light peakse . g . a roaring fire
   FIG . 2 schematically shows an example where a lighting                   may have a higher frequency than a single candle
effect simulator 100 and the light 102 are integrated in a                   flame.
single studio lamp device 120. In one example, the light 102              Depth : typically from 0 % to 90 % . This sets a base level
is an array of LEDs, preferably of differing colours . This                  of illumination of the effect. For example a fire may
arrangement does notrequire the DMX distribution hub 302 , 65                have a base level of 50 % illumination superimposed on
power elements 304 , 306 as described above , and is more                    a level varying from 50 % to 100 % to simulate flick
flexible in producing effects as will be described in more                   ering flames
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 12 of 15 PageID #: 88


                                                    US 10 , 197 ,258 B2
   Rolling Shutter Compensation : Film and TV cameras             ness plot of a 'chase' effect. In this example , three lights
     typically operate at frequencies between 24 Hz and 60        produce outputs 200 , 202 and 204 separated in time. In such
     Hz. In order to provide consistent illumination during       a way , an effect of a light source (such as a passing car) can
     each camera frame, short time-period (e .g . strobo -        be replicated . The relative timing of the light sources can be
     scopic ) lighting effects should have a minimum pulse 5      adjusted depending on the relative location of the sources,
      width which lasts at least one camera frame period . and the speed of the effect to be replicated . It should be noted
       This parameter can be adjusted to suit the camera and      that the ‘ fade up ' and ‘ fade down' portions of each light
       frame rate .
   ' Colour Swing Blue ' simulates the effect of flame going output        200 , 202 , 204 overlap with one -another to more
                                                                  accurately replicate the effect of a moving object, as opposed
      up the chimney , “ peaks ' within the fire effect can be 10 to a element jumping from one location to another.
       switched to transition between yellow and blue, to            Related effects utilising similar timing controls are be
     match the colour of a flame, creating a more dynamic             'paparazzi' of multiple flashes coming from different loca
     and 3D fire effect. The brighter the ‘ spark ’ the more      tions, or a ' propeller ' simulating a light source being
     blue the light output is . The colour of the output is
     therefore dependent on the brightness of the output (or 1515 ODS
                                                                  obscured by a rotating propeller. The use of a single con
     vice versa ).                                                troller 130 may be used to control all of the lights 102 so as
   Further examples of lighting effects are for example to to ensure an appropriate delay (or absence of delay ) .
mimic television screen flicker, cinema illumination , illumi        FIG . 6 shows an example of a graphic user interface 800
nation in a vehicle passing through a tunnel, or any situation for user input of simulation parameters . In the illustrated
where the lighting varies over time in a characteristic 20 example the lighting effect to be simulated is a fire effect.
manner. A simulation can be defined that represents the The user can select a fire activity (with a slider positioned
characteristics of the lighting effect, and suitable random            from ' low ' to 'high ') to set a frequency parameter as
parameters can be used to introduce a realistic variance in           described above ; a fire colour , a peak brightness ; a baseline
the lighting effect.                                                  brightness to set a depth parameter as described above ; and
   In a variant the simulator operates with pre - defined 25 a camera frequency .
parameters and random numbers, without further user input           A wide range of further parameters can be provided for
of parameters . This can still provide a realistic lighting user input, for example if the fire activity , brightness and/ or
effect, albeit with less adaptation to the user 's preferences . colour is to change over time (to mimic a fire dying down
   FIG . 3 illustrates a simple example of a method for               and reducing to embers or to mimic addition of fuel to a fire ).
simulating a lighting effect. In a first step S1 simulation 30 The user may also be provided with an option of superim
parameters are received , such as random parameters and/ or           posing different types of lighting effects, for example to
user -selectable parameters . Where a random parameter is             mimic candlelight during a lightning storm .
algorithmically generated it is only pseudo -random , but for            In one example , the rolling shutter compensation controls
the purposes of the simulation a pseudo -random parameter             a minimum light pulse to match the shutter speed or frame
is sufficiently random for realistic simulation and is hence 35 rate of the user ' s camera ( camera frequency ) to ensure even
considered to be equivalent to a truly random parameter. In           illumination across the frame and eliminate possible strob
a second step S2 a simulation is performed based on a                 ing. Therefore, the duration of the light pulse is longer than
simulation model and the received parameters . The nature of          one period of the camera ' s recording frequency , or in other
the simulation model can vary greatly, depending on the               words, the lighting value varies at a lower frequency than the
lighting effect that is desired and the sophistication of the 40 frequency of the camera .
desired simulation .                                                     The lighting effect simulator 100 typically provides data
   The simulation calculates how the lighting changes over            106 in the form of brightness and /or colour values that vary
time in order to produce the desired lighting effect. Follow          over time. In order to cause the light 102 to produce the
ing simulation in a third step S3 the lighting information            desired effect a lighting data converter 107 may convert the
determined by the simulation is output, for example to a 45 data 106 from the lighting effect simulator 100 into a
lighting device , in order to produce the desired lighting            suitable signal for a particular light 102 . For example for a
effect.                                                               light emitting diode (LED ) array lighting the data conver
   FIG . 4 schematically shows an example showing a master sion occurs at an LED lamp control logic that produces and
light source 102 built into a lighting control unit 130 and a supplies a separate pulse -width -modulation output for each
“ slave' light source 102 - 1 separate from the lighting control   50 LED colour to an LED drive circuit. A lighting data con
unit . The lighting effect simulator 100 creates data 106             verter may be provided separately from the lighting effect
characterising a lighting effect and controls the master light        simulator 100 and the light 102 or it may be integrated with
 102 as described above. The data 106 is transmitted to the           one or the other or both .
slave light 102 - 1 via (for example ) a serial communication            The light 102 in one example comprises an array of
 interface (e. g . RS232 , USB or DMX ) or by wireless trans -     55 different types of LEDs, preferably red , green , blue and
mission ( e . g . Wi-Fi® , Bluetooth® Zigbee® , or via a mobile       white LEDs, or a bi colour fixture comprising warm typi
 communication network utilising protocols such as GSM                cally 2800K LEDs and ' cool' 7000K LEDs which blend
(Groupe Special Mobile ) 3GPP ( 3rd Generation Partner                together to create a range of colour from 3200 -6300K . The
ship ), or 4G LTE (Long term evolution )) via a wireless              array may be a panel, flood light, spot light, a cluster or any
communication interface 108.                                       60 other arrangement of LEDs. This provides the ability for the
    The additional “ slave ' light source 102- 1 thereby allows       lighting to produce light ofany visible colour by varying the
the production of a lighting effect with more than one light          relative intensities of the different LEDs. The lighting may
device but without duplication of controllers 130 . Such              alternatively be a filament (incandescent), halogen or other
additional light sources can for example increase the area of         type of lighting.
illumination or increase the power of the lighting effect.         65 The simulation may be performed on the fly , with lighting
    The use of multiple lights 102 affords additional options         data values output from the simulator 100 to the light 102 in
 for producing advanced effects . FIG . 5 shows a time/bright         near -real time, or the simulation may be performed in
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 13 of 15 PageID #: 89


                                                     US 10 , 197 , 258 B2
advance and the lighting data values output for storage and           If the interval is short with respect to the ramp-up and
later use to enable quick reproduction on set or location .        fade - down time, then sparks can overlap in time in which
    The lighting control system can reduce the number of case the brightest spark determines the lamp luminance .
devices required to provide lighting effects, especially where        The lighting effect simulator typically cycles round a loop
the lighting effect simulator is integrated in a light. This can 5 calculating new lamp brightness and colour values. Alter
significantly reduce equipment costs and time required to set natively the calculation can be triggered by an interrupt
up equipment. The system is also more portable allowing                 generated by a timer. The calculation is typically performed
power from its on internal power source or battery instead of           every 250 us.
requiring an external power generator or mains powered 10                  The duration of each spark can be controlled by choosing
solution . The lighting control system can be used for studio           whether or not to perform a new brightness calculation
and location filming lighting systems, and more generally               based on the value of a counter which is decremented every
for videography, broadcast and /or cinematography.                      time an interrupt occurs . When the counter reaches zero it is
                                                                        either reset to its previous start value or , for a new spark , a
   A non - exhaustive list of example effects that may be      new count start value is randomly generated. In this way
produced by the system are as follows:                      15 each spark has a different speed , duration and peak —
   Strobe — The strobe range in one example is from 1 hz up    simulating the look of a real flame.
     to 4 hz. The last used strobe parameters are stored in      Generating the light output with the simulation provides
     non - volatile memory (which applies to any effect a greater level of user adjustment and control than that
     described herein ). A user may rotate a knob on the produced by simply sampling the intensity of a real flame
     device to adjust the 'duty cycle ’ ( flash duration ) to 20 and replaying it at different speeds.
     eliminate issues with rolling shutter cameras .               An example sequence of instructions for the simulation is
  Lightning — this effect simulates lightning in a random               as follows:
    manner, but a user may control the speed at which the                 At the end of a spark up and down period :
     lighting bursts re -occur. This effect is most realistic if          Reset duration for next spark to between 2 .5 s to 5 s
     the brightness is set to 100 % and colour temperature is 25          Generate new brightness targets for the next spark
     set at 6000K . A user may rotate a knob on the device                  between 12 .5 % and 100 % of current maximum bright
     to adjust the ' duty cycle' ( flash duration ) to eliminate             ness setting .
     issues with rolling shutter cameras . The duration of the            Offset the random brightness targets by the requested
     lightning flashes in one example is 20 ms. The lightning                brightness floor value
     strikes in one example come in bursts ofbetween 2 and 30 Set the new peak brightness target for the new spark
     8 random length pulses.                                        Ensure the new targets are greater than the existing faded
  ThrobThrob is a regular smoothly pulsing light                      brightness value to prevent downward jumps
  Weld — this effect replicates a welding arc .                     Set the fade direction to UP
  Colour cycle — This is a regular smoothly pulsing light Start new animation frame:
     which fades between the tungsten and blue LEDs              35 Calculate brightness fade step sizes :
  Fire — this effect replicates a fire with ' dancing flames' as       Fade up fast, progressively larger fade step sizes
     is described in more detail below .                               Change fade direction at peak
   Police — This effect is an emulation of an emergency                      Fade down slow , progressively smaller fade step sizes
     services light, and may be most realistic in blue light.             Set the frame rate for the new spark to a random value
   Television — This effect is an emulation of someone 40                   prevent the curtailment of a long fade by a new short
     watching TV .                                                             pulse : if the faded brightness is still > 25 % of max
   It should be appreciated that due to the nature of the light                 then don 't allow new FramePeriod to be less than
102, the effects may be customised by a user, for example,                      old .
the frequency /speed , peak /minimum brightness or colour /               FIG . 7 shows an example of the brightness varying over
colour temperature may be dynamically changed , and /or 45 timeproduced according to a simulation as described above .
made to vary over time in a customised manner. Such                     Two peaks can be seen , one reaching 100 % intensity and the
user - customised effects may be stored and recalled at a later         other reaching 91 % intensity. The first peak fades up from
time. The effects may be triggered on cue (for example from             10 % to 100 % in 0.85 seconds, and back down to 56 % in 0.75
a director ) by sending a signal over a wired remote trigger            seconds.
or wireless device.                                                50      The second peak fades up from 56 % to 91 % in 0 .33
   It should also be appreciated that multiple effects may be           seconds, and back down to 60 % in 1 . 07 seconds. The fade
emulated simultaneously , for example, fire and lightning               up starts shallower and becomes steeper as it progresses.
may be present simultaneously using a single lighting unit .               The fade down starts steep and becomes shallower as it
   An example of a simulation for producing a fire effect is            progresses . A toggle switch is also shown which toggles
now described in more detail .                                     55 between Colour Swing Blue ' and 'Monochrome'. Colour
  Fire is simulated as a series of 'sparks'. Each spark has the         Swing Blue represents modifying the colour of peaks in
following random parameters:                                            brightness so as to replicate the increased temperature of
   Interval: New sparks are generated at an interval which              sparks in a fire , Monochrome may be used when (for
      varies randomly between a defined maximum and                     example ) filming in black and white , or when altering colour
    minimum interval.                                              60 of the effect may have deleterious effects on other elements
  Peak : The peak luminance of each spark varies randomly               of the scene ( for example , rendering text difficult to read ).
    between a defined minimum and maximum .                                An example of a simulation for producing a lightning
  Ramp -up time: The luminance of each spark ramps up to                effect is now described in more detail . Lightning is simu
    the peak at a randomly generated rate .                             lated as a sequence of 'bursts ' or groups of flashes . The
  Fade -down time: The fade from the peak is linked to the 65 number of flashes in each burst, the delay between bursts ,
    ramp - up time but is much slower - simulating the        the delay between each flash within the burst, and the
    gradual decline in luminance of a burning ember.          amplitude of each flash are all set randomly within certain
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 14 of 15 PageID #: 90


                                                     US 10 , 197,258 B2
                                                                                                        12
boundaries . The minimum ' on ' time period of each flash can                effect from said range of different user customisable
be set by the user to ensure full illumination of the camera                 cinematic lighting special effects ; and
frame. The lamp can also be set into a mode where a burst                 an effect simulator adapted to calculate a time varying
of flashes is triggered by the push of a button . In this way the            lighting value based on at least one simulation param
effect can be triggered on demand by the user.                      5        eter, said at least one simulation parameter depending
   An example sequence of instructions for the simulation of                 on the selected user customisable cinematic lighting
lightning, with a series of bursts of flashes , is as follows:               special effect being simulated , and adapted to output
   At the end of a burst of flashes recalculate the parameters               said time varying lighting value to said lighting device
for the next burst:                                                          so as to simulate the selected user customisable cin
  Reset the number of flashes in a burst to a random number 10              ematic lighting special effect;
     between 2 and 10                                                     wherein said lighting device and said controller are inte
   Reset the period to next burst to a random number                         grated in a combined unit .
     between 2 .5 and 5 s .                                      2 . The lighting system according to claim 1 , wherein the
Calculate parameters for each flash in a burst of flashes :   input interface is adapted to receive user input to enable a
   Randomly modulate brightness of each flash slightly     15 user to customise said user customisable cinematic lighting
   Reset the time to next flash to a random number between    special effect.
     8 ms and 220 ms                                             3 . The lighting system according to claim 1 , wherein the
  Reset the ‘on ’ flash duration to a random number between             lighting device comprises at least one LED .
     8 ms and 120 ms                                         4 . The lighting system according to claim 3, wherein the
     ensure a minimum off-period is maintained between 20 lighting device comprises multiple different coloured LEDs.
        flashes                                              5 . The lighting system according to claim 4 , wherein the
   For the final flash set the duration to a random number              multiple different coloured LEDs comprise at least one of a
     between 10 ms and 113 ms.                                          RGB LED , and a RGB + W LED .
   The lighting system , lighting effect simulator, lighting               6 . The lighting system according to claim 3, wherein the
controller, lighting device , computing device , and/ or com - 25 controller is adapted to control the colour or colour tem
puter program product may have one or more of the fol-                  perature of said LEDs in dependence on a user input
lowing features:                                                        received via the input interface .
  built- in capability to generate a range of cinematic special            7 . The lighting system according to claim 3 , wherein the
     effects by modulating the colour and brightness of the             lighting device comprises at least one 'warm ' white and at
     light output.                                                  30 least one ' cool ' white LED .
   the parameters of the effects can be controlled via a simple            8 . The lighting system according to claim 6 , wherein the
      user interface on the lamp itself.                                lighting device is operable to produce light at a colour
   the parameters of the effects can be controlled remotely             temperature typically in the range of 2800 -7000 Kelvin .
      via WiFi or DMX from a smart phone or tablet.           9 . The lighting system according to claim 3 , wherein the
  networked with other lights to produce a synchronised 35 controller is adapted to control the brightness of said LEDs
     large area special effect.                                         in dependence on a user input received via the input inter
   minimum light pulse width can be adjusted to suit the    face .
     shutter speed or frame rate of the user ' s camera to     10 . The lighting system according to claim 1, wherein the
      ensure even illumination across the frame.            simulation parameter comprises at least one of a colour and
   Various other modifications will be apparent to those 40 a colour temperature .
skilled in the art. It will be understood that the present     11. The lighting system according to claim 1, wherein the
invention has been described above purely by way of                     selected user customisable cinematic lighting special effect
example , and modifications of detail can be made within the            is designed to mimic at least one of fire ; lightning ; police car
scope of the invention . For example , it should be appreciated         light ; television ; a neon flickering sign ; a candle ; muzzle
that the effect simulator 100 or the computing device 130 45 (gunshot); welding; spark / short circuit; a scan ( e . g . finger
may be separate from any light 102 , and connectable to      print scanner ); paparazzi flashes; fireworks ; flashes (strobe );
lights 102 , by either a wired or wireless connection .      a propeller; a (nuclear ) explosion ; and a wormhole.
   The lighting effect simulator 100 may be provided by way              1 2 . The lighting system according to claim 1 , wherein the
of a suitably adapted computing device such as a PC , tablet            controller is adapted to store said at least one simulation
or smart phone , with suitable software for user input of 50 parameter in memory .
simulation parameters . The computing device may be a                      13 . The lighting system according to claim 1, wherein the
suitably adapted light controller device with suitable con              controller is adapted to control a plurality of lighting devices
trols for user input of simulation parameters .                         in dependence on the selected user customisable cinematic
   Reference numerals appearing in the claims are by way of lighting special effect.
illustration only and shall have no limiting effect on the 55 14 . The lighting system according to claim 1 , further
scope of the claims.                                         comprising a further lighting device, said further lighting
                                                                        device being separate from said controller.
   What is claimed is:                                                     15 . The lighting system according to claim 14 , wherein
   1. A lighting system comprising:                                     the controller comprises a wireless communication interface
   a lighting device ; and                                          60 adapted for wireless communication with said further light
   a controller adapted to control the lighting device to               ing device .
     produce a user customisable cinematic lighting special                16 . The lighting system according to claim 13 , wherein
     effect selected from a range of different user custom              the controller is adapted to at least one of: offset and overlap
     isable cinematic lighting special effects , the controller         the output of said plurality of lights with one -another so as
     comprising:                                                65 to simulate a moving light source .
   an input interface for receiving user input to enable a user       17 . The lighting system according to claim 1, wherein the
      to select user customisable cinematic lighting special            controller is separable from the lighting device .
Case 1:22-cv-00928-MN Document 1-2 Filed 07/12/22 Page 15 of 15 PageID #: 91


                                                   US 10 , 197 ,258 B2
                             13                                          14
  18 . The lighting system according to claim 1 , wherein the
input interface comprises at least one of: a wireless com
munication interface ; a dial; a slider ; a control panel; a
display and buttons , and a touch screen .
   19 . The lighting system according to claim 1 , further 5
comprising a converter adapted to convert at least one of
brightness and colour data from the simulator into lighting
signals for output by the output.
   20 . The lighting system according to claim 1 , wherein the
lighting system is a lighting system for at least one of : 10
videography; broadcast; cinematography ; studio filming;
and location filming .
   21. The lighting system according to claim 12 , wherein
the controller is adapted to recall said stored at least one
simulation parameter from said memory .                          15
   22 . The lighting system according to claim 14 , wherein
said controller is adapted to control said further lighting
device in dependence on the selected user customisable
cinematic lighting special effect.
                                                                 20
